 8:18-cv-00478-DCC         Date Filed 03/14/19    Entry Number 27       Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENWOOD DIVISION


Toye Willis,                                      )
                                                  )    Civil Action No. 8:18cv478-DCC-JDA
                             Plaintif f,          )
                                                  )       ORDER OF DISMISSAL
          vs.                                     )
                                                  )
McCormick County School District ,                )
                                                  )
                             Defendant.           )
                                                  )


                The Court having been advised by counsel for the parties that the above

action has been settled,

                IT IS ORDERED that this action is hereby dismissed without costs and

without prejudice. If settlement is not consummated within sixty (60) days, either party may

petition the Court to reopen this action and restore it to the calendar. Rule 60(b)(6),

F.R.Civ.P. In the alternative, to the extent permitted by law, either party may within sixty

(60) days petition the Court to enforce the settlement. Fairfax Countywide Citizens v.

Fairfax County, 571 F.2d 1299 (4th Cir. 1978). By agreement of the parties, the court

retains jurisdiction to enforce the settlement agreement. Kokkonen v. Guardian Life Ins.

Co., 511 U.S. 375, 381-82 (1994).

                The dismissal hereunder shall be with prejudice if no action is taken under

either alternative within sixty (60) days from the filing date of this order.

                IT IS SO ORDERED.

                                            s/Donald C. Coggins, Jr.
                                            United States District Judge


March 14, 2019
Greenville, South Carolina
